      Case: 5:21-cv-01673-JRA Doc #: 29 Filed: 01/27/23 1 of 2. PageID #: 997




                      IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


Todd E. Meldrum                                 )   Case No. 5:21-CV-01673
                                                )
                                                )
              Plaintiff,                        )
                                                )   JUDGE JOHN R. ADAMS
       v.                                       )
                                                )
                                                )
Dillard’s Inc.; Wells Fargo Bank., N.A.,        )   MEMORANDUM OF OPINION
                                                )   AND ORDER
                                                )
              Defendants.                       )   (Resolves Doc. 6)
                                                )



       On April 20, 2022, this Court granted a motion to compel arbitration of the claims brought

in this matter. Unhappy with that decision, Plaintiff Todd Meldrum moved to alter or amend the

Court’s decision on May 18, 2022. The Court denied that motion on August 5, 2022. Still unhappy

with the result, Meldrum moved to vacate the Court’s decision on August 31, 2022. Doc. 24.

       The information relied upon by Meldrum in his most recent most to vacate was available

to him at the time the Court ruled on the motion to compel arbitration. As such, it is not timely

presented to the Court in this motion to vacate. However, even were the Court to consider

Meldrum’s arguments and evidence, it would not alter the Court’s prior decision. While Meldrum

seeks to again attack the veracity of the evidence offered in support of the motion to compel
      Case: 5:21-cv-01673-JRA Doc #: 29 Filed: 01/27/23 2 of 2. PageID #: 998




arbitration, none of his arguments convince the Court that arbitration is not required. Accordingly,

the motion to vacate is DENIED.

       IT IS SO ORDERED.



Dated: January 27, 2023                              ____/s/ Judge John R. Adams_______
                                                  JUDGE JOHN R. ADAMS
                                                  UNITED STATES DISTRICT COURT
